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OBERMAYER REBMANN MAXWELL & HIPPEL LLP
By:    Steven A. Haber, Esquire      Attorneys for Amici Curiae
1120 Route 73, Suite 420             Ryan White Clinics for 340B Access,
Mount Laurel, NJ 08054-5108          Little Rivers Health Care, Inc., and
Phone: (856) 795-3300                WomenCare, Inc., dba FamilyCare
Email: steven.haber@obermayer.com    Health Center

SANOFI-AVENTIS U.S., LLC,
                                                         UNITED STATES DISTRICT COURT
                               Plaintiff,                FOR THE DISTRICT OF NEW JERSEY


                 v.
                                                         Civil Action No. 3:21-cv-634-FLW-LHG

U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES, et al.,

                               Defendants.


                      ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

        THIS MATTER, having been brought before the Court by Amicus Curiae, Ryan White Clinics

For 340B Access, Little Rivers Health Care, Inc., and WomenCare, Inc., dba FamilyCare Health Center

by and through its attorney of record, Steven A. Haber, Esq. of Obermayer Rebmann Maxwell & Hippel

LLP, for an Order pursuant to Local Civil Rule 101.1(c), permitting Ronald Connelly, Esq., to appear

and participate pro hac vice on behalf of Amicus Curiae, and the Court having read and considered such

application and supporting certifications, and for good cause shown,

        IT IS THEREFORE, on this 11th day of March, 2021;

        ORDERED that Ronald Connelly, Esq., be permitted to appear pro hac vice in the above-

captioned matter pursuant to L. Civ. R. 101.1(c); and it is further

        ORDERED that all pleadings, briefs, and other papers filed with the Court shall be signed by an

attorney of record for Amicus Curiae, who is admitted to the Bar of this Court and shall be held

responsible for said papers, and for the conduct of the case, and who shall present in Court during all


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phases of these proceedings, unless expressly excused by the Court, and who will be held responsible for

the conduct of the attorney admitted hereby; and it is further

          ORDERED that Ronald Connelly shall remit to the New Jersey Lawyers’ Fund for Client

Protection the annual payment that may be required in accordance with L. Civ. R. 101.1(c)(2) and New

Jersey Court Rule 1:282(a) for each calendar year in which Mr. Connelly represents a client in a matter

pending in this Court; and it is further

          ORDERED that Ronald Connelly pay $150.00 to the Clerk, United States District Court for the

District of New Jersey for participation in this action within twenty (20) days from the state of the entry

of this Order; and it is further

          ORDERED that Ronald Connelly shall be bound by the Rules of the United States District

Court for the District of New Jersey, including, but not limited to the provisions of L. Civ. R. 103.1,

Judicial Ethics and Professional Responsibility, and L. Civ. R. 104.1, Discipline of Attorneys; and it is

further

          ORDERED that Ronald Connelly shall be deemed to have agreed to take no fee in any tort case

in excess of the New Jersey State Court Contingency Fee Rule, Rule 1:21-7, as amended; and it is further

          ORDERED that Ronald Connelly may file a request, the form of which is available at the

Court’s website, with the Clerk of the Court for pro hac vice counsel to receive electronic notifications

in this matter.

          ORDERED that Ronald Connelly’s contact information should be entered as follows:

          Ronald S. Connelly
          Powers Pyles Sutter & Verville, PC
          1501 M Street NW, Seventh Floor
          Washington, DC 20005
          202-872-6762 (Office)
          202-785-1756 (Facsimile)
          Ron.Connelly@PowersLaw.com

                                               _________________________________________
                                                  The Honorable Lois H. Goodman
                                                  United States Magistrate Judge
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